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UNITED STATES DISTRICT COURT
DISTRICT OF MAINE

UNITED STATES OF AMERICA

Vv.
No. 1:23-mj-00264-JCN
ERCILIO LEONIDAS DA SILVA JUNIOR

The undersigned complainant, being duly sworn, states:

COUNT 1
(Entry Without Inspection)

On about September 18, 2023, in the District of Maine, the defendant,
ERCILIO LEONIDAS DA SILVA JUNIOR

an alien, did knowingly and unlawfully enter into the United States in Somerset County, in
the State and District of Maine, from the country of Canada, at a place not designated by
immigration officers as a lawful Port of Entry of the United States for the entrance of
immigrants into the United States.

In violation of Title 8, United States Code, Section 1325(a)(1)

The complainant states that this complaint is based on the attached affidavit, which

is incorporated by reference.
Eric DaupMinee

Border Patrol Agent
United States Border Patrol

Sworn to telephonically and signed
electronically in accordance with the

requirements of Rule 4.1 of the Federal Rules
of Criminal Procedure [
Sep 20 2023 r
Date:

Judge's signanure
chyanene Bangor, ME John C ny son U.S. Magistrate Judge

Printed name and title

